       Case 1:22-cr-00392-DLF          Document 105         Filed 05/06/25      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No. 22-cr-392 (DLF)
               v.                             :
                                              :
ABU AGILA MOHAMMAD                            :
MAS’UD KHEIR AL-MARIMI                        :
                                              :
                                              :
                       Defendant.             :

                                      NOTICE OF FILING

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, respectfully files this notice on the docket attaching a partially redacted

version of a Joint Update to the Court and Unopposed Motion to Continue Status Conference. The

unredacted version of the joint update and motion was filed under seal at ECF 104 on May 2, 2025,

and the Court granted the motion to continue by Minute Order dated May 5, 2025.
Case 1:22-cr-00392-DLF   Document 105   Filed 05/06/25    Page 2 of 2




                                    Respectfully submitted,

                                    EDWARD R. MARTIN, JR.
                                    UNITED STATES ATTORNEY
                                    D.C. Bar No. 481866


                                    /s/ Erik Kenerson__________
                                    ERIK M. KENERSON (OH Bar No. 82960)
                                    BRITTANY KEIL (D.C. Bar No. 500054)
                                    CONOR MULROE (NY Bar Number 5289640)
                                    Assistant United States Attorneys
                                    JEROME J. TERESINSKI (PA Bar No. 66235)
                                    Special Assistant United States Attorney
                                    National Security Section
                                    United States Attorney’s Office
                                    601 D Street NW
                                    Washington, D.C. 20530
                                    (202) 252-7201
                                    Erik.Kenerson@usdoj.gov

                                    KATHLEEN CAMPBELL (MD Bar No. 9812170031)
                                    JENNIFER BURKE (MD Bar No. 9706250061)
                                    Trial Attorneys
                                    Counter Terrorism Section
                                    National Security Division
                                    950 Pennsylvania Avenue NW
                                    Washington, D.C. 20530




                                2
